Case 8:12-cr-00303-VMC-TBM Document 25 Filed 09/26/12 Page 1 of 3 PageID 41




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                      Case No. 8:12-cr-303-T-33TBM

  RODRICK MARQUIS SALTER and
  COURTNEY LEMAR ALLEN
                                      /

                                  ORDER

        This matter is before the Court sua sponte.           Defendants

  Salter and Allen were indicted on July 26, 2012, and face a

  single conspiracy drug charge. (Doc. # 1).           Initially, Salter

  was represented by the Office of the Federal Defender.

  However, due to a conflict, the Federal Defender no longer

  represents Salter. Thomas H. Ostrander, Esq. entered a notice

  of appearance on behalf of Salter on September 18, 2012. (Doc.

  # 24).    Ostrander has not yet moved to continue the trial;

  however, the Court is under the impression that he will seek

  a continuance because he is new to the case, and the case is

  currently on the Court’s October 2012, trial term calendar.

  Counsel   for   Allen,   on   the   other    hand,   has   consistently

  maintained that he is ready for trial and has expressed his

  preference that this case be tried in October 2012.

        At this juncture, the Court is faced with the issue of

  calculating Speedy Trial when there are two defendants and

  only one of those defendants is ready for trial.             The Court
Case 8:12-cr-00303-VMC-TBM Document 25 Filed 09/26/12 Page 2 of 3 PageID 42




  understands that:

        Excludable from Speedy Trial calculation is “[a]
        reasonable period of delay when the defendant is
        joined for trial with a codefendant as to whom the
        time for trial has not run and no motion for
        severance    has    been   granted.”    18   U.S.C.
        § 3161(h)(7). The effect of § 3161(h)(7) is that a
        delay attributable to one defendant is excludable
        not only as to him but also to his codefendants.
        Hence, whatever stops the Speedy Trial clock for
        one defendant stops the clock for all codefendants,
        subject, however, to the requirement that the delay
        be reasonable. United States v. Campbell, 706 F.2d
        1138, 1142 (11th Cir. 1983); United States v.
        Struyf, 701 F.2d 875, 878 (11th Cir. 1983); United
        States v. Stafford, 697 F.2d 1368, 1372 (11th Cir.
        1983); United States v. Tobin, 840 F.2d 867, 869
        (11th   Cir.    1988)(noting   the   reasonableness
        requirement in § 3161(h)(7)).

  United States v. Noriega, 746 F. Supp. 1548, 1559 (S.D. Fla.

  1990).

        Thus, Salter is directed to advise the Court by October

  3, 2012, as to whether he plans to seek a continuance of the

  trial.     In addition, if either party disagrees with the

  Court’s discussion of Speedy Trial stated above, that party

  must provide by October 3, 2012, a memorandum with citations

  to legal authority explaining the contrary position.

        Accordingly, it is

        ORDERED, ADJUDGED, and DECREED:

        The parties are directed to provide the Court with

  information as discussed above by October 3, 2012.


                                    2
Case 8:12-cr-00303-VMC-TBM Document 25 Filed 09/26/12 Page 3 of 3 PageID 43




        DONE and ORDERED in Chambers, in Tampa, Florida, this

  26th day of September 2012.




  Copies:    All Counsel of Record




                                    3
